          Case 8:19-bk-10440-MH                  Doc 237 Filed 11/13/23 Entered 11/13/23 10:42:09                                       Desc
                                                   Main Document Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Richard G. Heston; SBN: 90738
 Heston & Heston, Attorneys at Law                                                                      FILED & ENTERED
 19700 Fairchild Road
 Suite 280
 Irvine, CA 92612-2528                                                                                          NOV 13 2023
 (949) 222-1041
 (949) 222-1043
 rheston@hestonlaw.com                                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                                                          Central District of California
                                                                                                          BY craig      DEPUTY CLERK




                                                                                               CHANGES MADE BY COURT
     Debtor appearing without attorney
     Attorney for: Debtors
     Chapter 13 trustee

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION
 In re:
                                                                            CASE NO.: 8:19-bk-10440-MH
 STEPHEN B. FULLER, and                                                     CHAPTER: 13
 RENEE M. FULLER,
                                                                            ORDER ON:
                                                                                DEBTOR’S MOTION TO MODIFY PLAN OR
                                                                                SUSPEND PLAN PAYMENTS
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                REFINANCE REAL PROPERTY
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                SELL REAL PROPERTY
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                ENTER INTO LOAN MODIFICATION
                                                                                OTHER:


                                                                                 No hearing held
                                                                                 Hearing held
                                                                            DATE: 11/09/2023
                                                                            TIME: 12:00 p.m.
                                                                            COURTROOM: 6C
                                                                            PLACE: 411 West Fourth Street, Santa Ana, CA 92701


                                                             Debtor(s).




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                          Page 1                              F 3015-1.14.ORDER.CH13.GENRL
       Case 8:19-bk-10440-MH                    Doc 237 Filed 11/13/23 Entered 11/13/23 10:42:09                                       Desc
                                                  Main Document Page 2 of 3

Based on Debtor’s motion filed on (date) 09/23/2023 as docket entry number 222 and the recommendation of the chapter
13 trustee, it is ordered that Debtor’s motion is:

      Granted                    Denied

      Granted on the terms set forth in the chapter 13 trustee’s comments on or objection to Debtor’s motion

      Granted on the following conditions:




      1. Approval of motion for escrow to pay the liens of RightPath Servicing (“RightPath”), Service Finance Company,
LLC (“SFC”), and Park Ridge Condominium Assn., as well as the usual and customary escrow fees and charges.

      2. Pursuant to Debtors’ confirmed plan, arrears to the secured creditor RightPath are to be paid by the Trustee. By
agreement between Debtors and the Trustee, and to simplify the recording of documents, escrow shall disburse the
remaining balance of the secured arrears of RightPath in proof of claim no. 18 in the approximate amount of $1,859.01 on
behalf of the Trustee and the Trustee is authorized to take his fee of up to $185.90 for this disbursement.

     3. Nationstar Mortgage LLC will be paid in full on its claim concurrently upon close and directly out of escrow; and,
Debtor to timely submit a request for payoff to Nationstar prior to closing in order to ensure that the correct and full
amounts are paid to Nationstar out of escrow.

       4. Creditor SFC is a secured claim which should have been disclosed, provided for, and paid through the plan. To
resolve this issue, by agreement between Debtors and the Trustee, and to simplify the recording of documents, escrow
shall disburse the payoff demand of SFC in the approximate amount of $32,474.47 on behalf of the Trustee and the
Trustee is authorized to take his fee of up to $3,247.44 for this disbursement.

    5. Upon review of the final closing statement, the Trustee is also authorized to take his statutory fee on any
payments made by escrow for any impaired claims that should have been provided for through the plan.

       6. The Trustee is authorized to make a demand upon escrow for up to $200,000 of the proceeds, estimated to be
sufficient to pay all claims at 100%.

      7. Debtors may file a motion to modify the plan to provide for less than a 100% distribution to unsecured creditors,
with any such motion to be filed within 30 days of the closing of escrow. On the record at the time of the hearing, the
Trustee indicated that provided the proposed modification did not reduce the distribution to creditors below 62.5%, the
Trustee would not oppose such modification.

      8. Notwithstanding any dismissal of the case, the Court retains jurisdiction as to all funds and property of the estate
from this sale until further order(s) of this Court and all funds and property of the estate do not revest in Debtors pursuant
to 11 U.S.C. § 349(b)(3).

      9. Upon the Trustee's final audit of Debtors’ case, remaining funds, if any, will be refunded to the Debtor.

        10. The Trustee reserves the right to demand additional funds as necessary upon review of the Claims Register on
file with the Clerk of the Bankruptcy Court.

      11. The plan is modified to allow the Trustee to disburse funds to creditors to pay up to a 100% distribution, subject
to any further modification that is provided in ¶ 6 above. Unless expressly stated herein, the Motion does not otherwise
modify the plan.

      12. Debtor must submit a final closing statement of the sale to the Trustee or otherwise obtain from creditor a
withdrawal of any proof of claim filed on the property.


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 2                              F 3015-1.14.ORDER.CH13.GENRL
       Case 8:19-bk-10440-MH                   Doc 237 Filed 11/13/23 Entered 11/13/23 10:42:09                                       Desc
                                                 Main Document Page 3 of 3

     13. Debtor stipulates that there is cause and that the Court is “ordering otherwise” with regard to the provisions of
11 U.S.C. § 349(b) in the event the case is dismissed.

      14. Claims provided for by the plan are deemed due and owing to creditors pursuant to 11 USC 1326(a)(2).


                                                                       ###




                Date: November 13, 2023




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                        Page 3                              F 3015-1.14.ORDER.CH13.GENRL
